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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 VS.                                            §   CASE NO. 2:12-CR-3(6) JRG-RSP
                                                §
 MINDY GAIL TIMS                                §


               ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                        FINDING DEFENDANT GUILTY
                        PURSUANT TO RULE 11 (c)(1)(C)

        On this day, the Court considered the Findings of Fact and Recommendation of United

 States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty under the provisions

 of Rule 11(c)(1)(C) to Count 470 of an indictment charging defendant with a violation of 21

 U.S.C. ' 841(c), Possession of List 1 Chemical with Intent to Manufacture Methamphetamine.

 Having conducted a proceeding in the form and manner prescribed by FED. R. CRIM P. 11, the

 Magistrate Judge recommends that the Court accept the defendant=s guilty plea, reserving to the

 District Judge the option of rejecting the Plea Agreement if, after review of the presentence

 report, the agreed sentence is determined not to be the appropriate disposition of the case. The

 parties waived their right to file objections to the Findings of Fact and Recommendation. The

 Court is of the opinion that the Findings of Fact and Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the

 United States Magistrate Judge, filed on January 31, 2013 are hereby ADOPTED.

       So Ordered and Signed on this


       Mar 31, 2013
